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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 16-cv-3000-NYW

PATRICE STEPHENSON-LICCIARDI, as legal representative of
CHRISTIAN LICCIARDI,
an individual,

       Plaintiff,
v.

WILLIAM COOPER, an individual,
JEFFREY FREEMAN, an individual,
STEVEN HAKE, an individual,
UNITED STATES OF AMERICA; CLAUD BAYS,
an individual; and MICHAEL BONNET, an individual,

       Defendants.


STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE OF CLAIMS AGAINST
                DEFENDANT JEFFREY FREEMAN, M.D.


       Defendant Jeffrey Freeman, M.D. (“Defendant Freeman”), by and through his counsel,

Messner Reeves LLP, and Plaintiff Patrice Stephenson-Licciardi, on behalf of Christian Licciardi,

by and through their counsel, Wellman & Warren, LLP, hereby submit this Stipulated Motion for

Dismissal with Prejudice and state as follows:

                    CONFERRAL PURSUANT TO D.C.Colo. L. Civ. R.7.1(a)

       Counsel for Defendant has conferred with counsel for each of the other parties in the case,

including counsel for Plaintiff, counsel for William Cooper, an individual, Claud Bays, an

individual, and Michael Bonnet, an individual; as well as counsel for Steven Hake, an individual

and counsel for the United States of America – no party objects to the relief requested in this

motion.

                                    RELIEF REQUESTED


 
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         1.     Plaintiff Patrice Stephenson-Licciardi, on behalf of Christian Licciardi, has agreed

to dismiss all pending claims which were or could have been asserted in this action against

Defendant Freeman, with prejudice, with each party to bear his or her own fees and costs.

         2.     Wherefore, Plaintiff Patrice Stephenson-Licciardi, on behalf of Christian Licciardi,

and Defendant Freeman request the Court dismiss, with prejudice, any and all claims against

Defendant Freeman, which were or could have been asserted in this action, with prejudice, with

each party to bear his or her own fees and costs.

         3.     Dr. Freeman also respectfully requests that he and his counsel be excused from

attending trial set to begin September 10th in this matter.

         Respectfully submitted this 7th day of September, 2018.

    Wellman & Warren, LLP                           MESSNER REEVES LLP
    s/Scott Wellman                                 s/ Katherine A. Bailey
    Scott W. Wellman                                Bruce A. Montoya, Esq. #14233
    Chris Wellman                                   Katherine A. Bailey, Esq. #47073
    Wellman & Warren, LLP                           1430 Wynkoop Street, Suite 300
    24411 Ridge Route, Suite 200                    Denver, Colorado 80202
    Laguna Hills, CA 92653                          Telephone: 303.623.1800
    swellman@w-wlaw.com                             Facsimile: 303.623.0552
    cwellman@w-wlaw.com                             bmontoya@messner.com
    Counsel for Plaintiff                           kbailey@messner.com
                                                    Counsel for Jeffrey Freeman




 
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                                  CERTIFICATE OF SERVICE


     The undersigned hereby certifies that on this 7th of September, 2018, I electronically filed
STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE OF CLAIMS AGAINST
DEFENDANT JEFFREY FREEMAN, M.D. and served to all parties via CM/ECF as follows:

    Scott W. Wellman                              Katherine Windler
    Chris Wellman                                 Law Office of Katherine Windler
    Wellman & Warren, LLP                         3737 Gill Dr.
    24411 Ridge Route, Suite 200                  Denver, CO 80209
    Laguna Hills, CA 92653                        kwindler@verizon.net
    swellman@w-wlaw.com
    cwellman@w-wlaw.com
    Kevin Homiak                                  Lena K. Moeller
    Andrew Efaw                                   Kathleen C. Warner
    Wheeler Trigg O'Donnell LLP                   Williams Porter Day & Neville, P.C.
    370 Seventeenth Street, Suite 4500, Denver,   P.O. Box 10700
    Colorado 80202                                159 N. Wolcott, #400
    homiak@wtotrial.com                           Casper, WY 82601
    efaw@wtotrial.com                             lmoeller@wpdn.net
                                                  kwarner@wpdn.net
    Stephen J. Hensen                             Jacob Licht-Steenfat
    Jessie M. Fischer                             W. Dean Carter
    Nixon Shefrin Hensen Ogburn                   Assistant United States Attorney
    5619 DTC Parkway, Suite 1200                  U.S. Attorney’s Office for the District of
    Greenwood Village, CO 80111                   Colorado
    shensen@nixonshefrin.com                      1801 California Street, Ste. 1600
    JFischer@nixonshefrin.com                     Denver, CO 80202
                                                  Jacob.licht-steenfat@usdoj.gov
                                                  William.carter@usdoj.gov



                                                    /s/ Nixie K. Gasser
                                                    Nixie K. Gasser

 




 
